          Case 2:13-cr-00309-JAM Document 65 Filed 10/28/14 Page 1 of 1


                       UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                   )
                                            )                  Case No. 13cr309 JAM
            Plaintiff,                      )
            v.                              )
       KIA MOORE                            )                  ORDER FOR RELEASE OF
                                            )                   PERSON IN CUSTODY
                                            )
               Defendant.                   )

TO:    UNITED STATES MARSHAL:

       This is to authorize and direct you to release, Kia Moore, 13cr309 JAM, from custody subject

to the conditions as stated on the record and for the following reasons:

                Release on Personal Recognizance

                Bail Posted in the Sum of: $

                       Unsecured Appearance Bond

                       Secured Appearance Bond

                       (Other) Conditions as stated on the record.

                 X     (Other) - DEFENDANT SENTENCED TO TIME SERVED ON 10/28/2014.



       Issued at Sacramento, CA on 10/28/2014          at    11/45            A.M./P.M.




                                                      By            /S/
                                                            John A. Mendez
                                                            United States District Court Judge
